

ORDER

PER CURIAM.
AND NOW, this 19th day of April, 2005, a Rule having been entered by this Court on January 21, 2005, pursuant to Rule *827214(d)(1), Pa.R.D.E., directing James R. Cooney to show cause why he should not be placed on temporary suspension and, upon consideration of the responses filed, it is hereby
ORDERED that the Rule is made absolute; James R. Cooney is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E. It is further directed that the Disciplinary Board shall consolidate respondent’s Petition for Reinstatement and the certificate of conviction.
